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 5                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WASHINGTON
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 7    FAYE IRENE GUENTHER,
                                               CASE NO: 2:22-CV-0272-TOR
 8                                Plaintiff,
                                               JURY TRIAL SCHEDULING ORDER
 9          v.

10    JOSEPH H. EMMONS, and OSPREY
      FIELD CONSULTING, LLC,
11
                               Defendants.
12
         A telephonic scheduling conference was held in the above-entitled matter on
13
     August 30, 2023. James G. McGuinness and Aaron M. Streepy appeared on behalf
14
     of Plaintiff. John A. DiLorenzo, Jr., Sara A. Fairchild, and Ambika Kumar
15
     appeared on behalf of Defendant. The Court reviewed the Joint Status Certificate
16
     (ECF No. 28), heard from counsel, and is fully informed. IT IS ORDERED:
17
           General Court Procedures
18
         Pursuant to Fed. R. Civ. P. 16(b)(4), the dates set forth in this Order may be
19
     amended only by Order of the Court and upon a showing of good cause. Pursuant
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     JURY TRIAL SCHEDULING ORDER ~ 1
 1 to Fed. R. Civ. P. 29, the parties may stipulate to other procedures governing or

 2 limiting discovery, except the dates set forth in this Order.

 3         Counsel are to review and employ Local Civil Rule (LCivR) 83.1 (Civility)

 4 and Washington Rule of Professional Conduct 3.4 (Fairness To Opposing Party

 5 And Counsel).

 6       1. Mediation

 7       If parties elect to proceed to mediation, it should be completed as early as

 8 possible to avoid the unnecessary expenditure of judicial resources.

 9       2. Rule 26(a)(1) Exchange

10       If not already accomplished, the parties shall disclose their Fed. R. Civ. P.

11   26(a)(1) material promptly.

12         3. Motions to Amend Pleadings or Add Parties

13         Any motion to amend the pleadings or add parties shall be filed

14   no later than October 31, 2023.

15       4. Rule 26(a)(2) Expert Identification and Reports

16         The parties are cautioned that failure to timely identify experts or provide

17   reports in accordance with Rule 26 and this scheduling order may result in

18   exclusion of such testimony absent good reason. See Wong v. Regents of the Univ.

19   of Cal., 410 F.3d 1052 (9th Cir. 2005).

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     JURY TRIAL SCHEDULING ORDER ~ 2
 1                A. Plaintiff - Initial Expert Disclosures

 2         Each Plaintiff shall identify its experts and serve those experts’ Rule

 3 26(a)(2) reports on all other parties no later than April 5, 2024. Each Plaintiff

 4 shall also provide dates for which those experts can be available for deposition.

 5                B. Defendant - Initial Expert Disclosure

 6        Each Defendant shall identify its experts and serve those experts’ Rule

 7 26(a)(2) reports on all other parties no later than May 15, 2024. Each Defendant

 8 shall also provide dates for which those experts can be available for deposition.

 9                C. Plaintiff - Rebuttal Expert Disclosure

10        Each Plaintiff shall identify its rebuttal experts and serve those experts’ Rule

11   26(a)(2) reports on all other parties no later than June 5, 2024. Each Plaintiff shall

12   also provide dates for which those experts can be available for deposition.

13        5. Discovery Cutoff

14                A. Generally

15        All discovery, including depositions and perpetuation depositions, shall be

16   completed by June 26, 2024 (“Discovery Cutoff”). To be timely, discovery

17   requests must be served sufficiently in advance of the deadline to allow for timely

18   response by the cutoff date. The parties shall not file discovery, except those

19   portions necessary to support motions or objections.

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     JURY TRIAL SCHEDULING ORDER ~ 3
 1               B.    Depositions, Interrogatories, Requests for
                       Production/Admission
 2
          Unless otherwise stipulated, no more than 10 depositions up to seven hours
 3
     long, may be taken by the plaintiffs, or by the defendants, or by third-party
 4
     defendants. Fed. R. Civ. P. 30(a)(2)(A) and (d)(1).
 5
          Unless otherwise stipulated, any one party may serve no more than 25 written
 6
     interrogatories, including discrete subparts, on any other party. Fed. R. Civ. P.
 7
     33(a)(1) and advisory committee notes (1993) explaining “discrete subparts”.
 8
          Unless otherwise stipulated, any one party may serve no more than 30
 9
     requests for production, including discrete subparts, on any other party. LCivR
10
     34(d).
11
          Unless otherwise stipulated, any one party may serve no more than 15
12
     requests for admission, including discrete subparts, on any other party. LCivR
13
     36(c).
14
          A party needing relief from these limitations should timely seek relief from
15
     the Court by motion.
16
                 C. Protective Orders
17
          Any stipulation or motion for a confidentiality agreement or protective order
18
     must be timely filed so as not to delay the discovery process or the Court’s
19
     deadlines. If confidential records are attached to court filings, “compelling
20
     reasons” must be shown to seal records attached to a dispositive motion and “good


     JURY TRIAL SCHEDULING ORDER ~ 4
 1 cause” must be shown to seal records attached to a non -dispositive motion.

 2 Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1178-80 (9th Cir.

 3 2006).

 4               D. Motions to Compel

 5        To avoid wasted time and expense, the parties may contact chambers to

 6 schedule a telephonic conference to obtain an expedited ruling on discovery

 7 disputes. Motions to compel seeking sanctions shall be filed in writing.

 8        6. Dispositive and Daubert Motions

 9         All dispositive and Daubert motions shall be filed on or before July 3, 2024.

10   Responses and replies to dispositive and Daubert motions shall comply with

11   LCivR 7. No supplemental responses or supplemental replies to any dispositive or

12   Daubert motion may be filed without Court permission.

13         Dispositive and Daubert motions shall be noted for hearing at least fifty (50)

14   days after the date of filing.

15        7. Motion Practice

16               A. Notice of Hearing

17        Parties are to comply with LCivR 7(i) when noting motions for hearing. If

18   oral argument is sought by a party, counsel shall first confer and determine an

19   agreeable hearing date and time, and then contact chambers to confirm the Court’s

20   availability for the agreed upon hearing date and time. All non-dispositive motion



     JURY TRIAL SCHEDULING ORDER ~ 5
 1 hearings shall be conducted telephonically, unless in-person argument is approved

 2 by the Court. The parties may use cellular phones for telephonic hearings provided

 3 the caller is in an area with adequate cellular service and minimal background

 4 noise. Neither cell phones nor landline phones may be used in speaker mode. All

 5 phones must be muted unless addressing the Court. At the Court’s discretion,

 6 dispositive motion hearings in which oral argument has been requested may be set

 7 for either in-person or telephonic appearance.

 8                B. Motions to Expedite

 9        If there is a need to have a motion heard on an expedited basis, the party must

10   file a motion to expedite and an accompanying memorandum (or declaration)

11   establishing the need for an expedited hearing. The motion shall be noted for

12   hearing, without oral argument, no earlier than seven (7) days after the filing of the

13   motion, or two (2) days after the date of filing with prior permission from the

14   Court. Pursuant to local rule, motions (including stipulated motions) may not be

15   noted for hearing for the same they are filed.

16                C. Citing Previously-Filed Documents

17        All references to a previously filed document shall cite to the electronic case

18   filing (ECF) record number and page number within that ECF record, in the

19   following format, “ECF No. __ at __.” Such documents shall not be attached as

20   exhibits.



     JURY TRIAL SCHEDULING ORDER ~ 6
 1               D. Reliance on Deposition Testimony

 2        When a party relies on deposition testimony to support a position it takes in

 3 support or opposition to an issue, that party shall provide the Court with the

 4 pertinent excerpts of the deposition testimony relied upon and shall cite to page

 5 and line numbers of the deposition it believes supports its position. See generally

 6 LCivR 56(c). Submission of the entire deposition and/or failure to cite to specific

 7 portions of the deposition may result in the submission being stricken from the

 8 record. See Orr v. Bank of America, 285 F.3d 764, 774-75 (9th Cir. 2002).

 9               E. Supplemental Responses or Replies

10        No supplemental responses or supplemental replies to any motion may be

11   filed unless the Court grants a motion to file such documents.

12               F. Motions to Reconsider

13        Motions to reconsider are disfavored. Motions must show manifest error in

14   the prior ruling or reveal new facts or legal authority which could not have been

15   brought to the Court’s attention earlier. The motion shall be noted for expedited

16   hearing without oral argument seven days after it is filed. No response to a motion

17   for reconsideration need be filed unless requested by the Court. No motion for

18   reconsideration will be granted without such a request by the Court.

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     JURY TRIAL SCHEDULING ORDER ~ 7
 1                G. Decisions on Motions

 2        The parties may call to inquire about the status of a decision on a motion if

 3 the Court has not issued an order within thirty (30) days after the hearing on said

 4 motion.

 5        8. Witness/Exhibit Lists

 6        Witness/Exhibit lists shall be filed and served and exhibits made available for

 7 inspection or copies provided to the parties on or before August 14, 2024.

 8                A. Witness Lists

 9        Witness lists shall include a brief description of the witness, a brief summary

10   of the witness' anticipated testimony, whether the witness will be called as an

11   expert, and any known trial date/time conflicts the witness may have.

12                B. Exhibit Lists

13        Exhibit lists shall include a brief description of the exhibit. All exhibits shall

14   be pre-marked; Plaintiffs’ exhibits shall be numbered 1-499; Defendants’ exhibits

15   shall be numbered 500-999. Exhibits shall be marked in the lower right corner of

16   the exhibit when practicable.

17                C. Objections

18        Objections to witnesses/exhibits shall be filed and served on or before August

19   21, 2024, AND SHALL BE HEARD AT THE PRETRIAL CONFERENCE. All

20   objections to witnesses shall set forth a legal basis and explanation for the



     JURY TRIAL SCHEDULING ORDER ~ 8
 1 objection. Objections to an exhibit or portion thereof, shall be accompanied by a

 2 full and complete copy of the exhibit in question and a short legal explanation for

 3 the objection. The party seeking the admission of the witness or exhibit has five

 4 (5) days, excluding federal holidays and weekends, to file a response to the

 5 opposing party’s objection; no reply shall be filed.

 6        9. Deposition Designations

 7                A. Generally

 8        Designation of substantive, as opposed to impeachment, deposition or prior

 9 testimony to be used at trial shall be highlighted in yellow by Plaintiff or in blue by

10   Defendant in a complete transcript of the deposition or prior testimony and served

11   but not filed on or before August 14, 2024.

12                B. Cross-Designations

13        Cross-designations shall be highlighted in yellow by Plaintiff or in blue by

14   Defendant in the transcript containing the opposing party’s initial designations and

15   shall be served but not filed on or before August 21, 2024.

16                C. Objections

17        All objections to designated deposition or prior testimony and the legal bases

18   for the objections, shall be filed and served on or before August 28, 2024. Any

19   designated deposition or prior testimony objected to shall be underlined in black in

20   a complete yellow/blue highlighted copy of the deposition/prior testimony



     JURY TRIAL SCHEDULING ORDER ~ 9
 1 transcript described above. A paper copy of the underlined document shall be filed

 2 and served with the objections. The party seeking admission of the testimony has

 3 five (5) days, excluding federal holidays and weekends, to file a response; no reply

 4 shall be filed. If the deposition was videotaped, and the videotape is to be used at

 5 trial, the party seeking to use the videotaped deposition shall indicate the relevant

 6 portion on both the written transcript and the videotape. Similarly, objections shall

 7 be made on the written transcript as explained above along with the applicable time

 8 stamp on the video tape noted. All objections to deposition and prior testimony

 9 designations shall be heard and resolved at the pretrial conference with the

10   videotape available for display.

11        10. Motions in Limine

12        All unresolved substantive or evidentiary issues that may forseeably arise

13   during trial shall be addressed by motions in limine to be filed and served on or

14   before August 21, 2024. Such motions will be addressed and resolved at the

15   pretrial conference. However, motions in limine may not reargue issues already

16   decided by the Court.

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     JURY TRIAL SCHEDULING ORDER ~ 10
 1        11. Pretrial Order

 2                A. Generally

 3        A joint proposed pretrial order prepared in accordance with LCivR 16(e) shall

 4 be filed on or before September 11, 2024, and a copy e-mailed, in Microsoft Word

 5 format, to “riceorders@waed.uscourts.gov”.

 6                B. Exhibit List

 7        The list of exhibits contained in the Joint Proposed Pretrial Order shall reflect

 8 the exhibit marking scheme described above. In preparing the Joint Proposed

 9 Pretrial Order, the parties shall confer regarding duplicative exhibits and determine

10   which party will submit such exhibits for trial.

11        12. Trial Briefs, Voir Dire, and Jury Instructions

12                A. Generally

13        Trial briefs, requested voir dire, and jointly proposed jury instructions shall be

14   filed and served on or before September 11, 2024.

15                B. Trial Brief Length

16         Trial briefs shall not exceed twenty (20) pages without prior court approval.

17   To obtain court approval, a party must file a motion to file an overlength brief,

18   demonstrating good cause why supplemental briefing is necessary.

19   //

20   //



     JURY TRIAL SCHEDULING ORDER ~ 11
 1               C. Jury Instructions

 2         The parties’ jointly proposed jury instructions shall include a table of

 3 contents, preliminary instructions, final substantive instructions, and a verdict

 4 form. The instructions shall be sequentially numbered and include a citation of

 5 authority for each. The instructions shall, at a minimum, include instructions

 6 regarding the elements of each claim or defense, the relief sought, and otherwise

 7 comply with LCivR 51(a). A party proposing a Jury Instruction that differs from a

 8 Ninth Circuit Model Civil Jury Instruction should submit a memorandum

 9 analyzing cases to support the modification.

10               D. Individually Proposed Jury Instructions

11         If the parties are unable to agree on certain instructions, they are to submit

12   individually proposed jury instructions no later than the date the jointly proposed

13   instructions are due. All individually submitted proposed jury instructions must

14   adhere to the format described above and not repeat the jointly proposed

15   instructions.

16               E. Objections

17         Any objections to the opposing party’s individually submitted proposed

18   instructions must be filed no later than five (5) days, excluding federal holidays

19   and weekends, after the individual proposed instructions were filed. All objections

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     JURY TRIAL SCHEDULING ORDER ~ 12
 1 shall set forth the basis for the objection and briefly explain why the instruction in

 2 question should not be used or should be altered.

 3                  F. Courtesy Copies

 4            Counsel are instructed to e-mail courtesy copies of their jointly and

 5 individually proposed jury instructions, in Microsoft Word format, to

 6 “riceorders@waed.uscourts.gov”.

 7           13. Pretrial Conference

 8           An in-person pretrial conference will be held on September 25, 2024, at 9:00

 9 a.m., in Spokane Courtroom 902. All counsel trying the case must be present at the

10   pretrial conference.

11           14. Trial

12           The jury trial shall commence on October 7, 20241, at 8:30 a.m., in Spokane

13   Courtroom 902. Counsel shall appear at 8:30 a.m. on the first day of trial to

14   address any pending pretrial matters. Jury selection will begin promptly at 9:00

15   a.m.

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17   //

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20   1
          Vice October 2, 2024, as stated at the Telephonic Scheduling Conference.



     JURY TRIAL SCHEDULING ORDER ~ 13
 1        IT IS SO ORDERED.

 2        The District Court Clerk is directed to enter this Order and provide copies to

 3 the parties.

 4        DATED August 30, 2023.

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 6
                                  THOMAS O. RICE
 7                            United States District Judge

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     JURY TRIAL SCHEDULING ORDER ~ 14
